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3
     Phone: (602) 923-7370
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     E-mail: shyder@scotthyderlaw.com
5    Attorney for Debtor Susan Simpson
6
7                              UNITED STATES BANKRUPTCY COURT
8                                      DISTRICT OF ARIZONA
9
10   In re:                                      CHAPTER 13
11   SUSAN SIMPSON,
                                                 Case No. 2:20-bk-02088-EPB
12                    Debtor
                                                 NOTICE OF TELEPHONIC HEARING
13                                               ON MOTION FOR EXPEDITED
14                                               HEARING ON AMOUNTS DUE UNDER
                                                 ORDER TO SELL REAL PROPERTY [DE
15                                               #210]
16                                               Date: 10/1/2021
17                                               Time: 10:00 a.m.
                                                 Telephone Number: (877) 810-9415
18                                               Access Code: 1064631

19            NOTICE IS HEREBY GIVEN that on September 29, 2021, Debtor Susan Simpson filed

20   a Motion for Expedited Hearing on Amounts Due Under Order to Sell Real Property [DE #210]

21   (the “Motion”). Objection to Chapter 13 Plan and Motion to Dismiss [DE #23] (“Motion”).

22            NOTICE IS FURTHER GIVEN that a hearing on the Motion will be held before the

23   Honorable Eddward P. Ballinger, Jr., United States Bankruptcy Judge, on Friday, October 1,

24   2021 at 10:00 a.m.

25            NOTICE IS FURTHER GIVEN that the aforementioned hearing will be held

26   telephonically. Any interested party is to appear via telephone by calling (877) 810-9415. The

27   access code is 1064631


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1          RESPECTFULLY SUBMITTED this 29th day of September, 2021.
2
                                             LAW OFFICE OF SCOTT W. HYDER, PLC
3
4
5                                            By: /s/ Scott W. Hyder, AZ Bar No. 017282
                                                    Scott W. Hyder
6
7
                                     CERTIFICATE OF SERVICE
8
     I hereby certify that the foregoing was filed with the Clerk of the Court this 29th day of
9    September, 2021 via ECF and that a copy of the foregoing was served via receipt of the Notice
10   of Electronic Filing pursuant to Local Rule 9076-1 and via electronic mail and fax to the
     following parties:
11
      Don C. Fletcher, Esq.                       Ross Mumme
12
      Lake and Cobb, PLC                          Counsel Chapter 13 Trustee Edward J. Maney
13    1095 West Rio Salado Parkway, Suite 206     101 North First Avenue, Ste. 1775
      Tempe, Arizona 85281                        Phoenix, Arizona 85003
14    Attorney for Creditor New Horizons          rmumme@maney13trustee.com
      401(k) Profit Sharing Plan                  Fax No. (602) 277-4103
15
      dfletcher@lakeandcobb.com
16    Fax No. (602) 523-3001
17
      Elizabeth C. Amorosi
18    Office of the United States Trustee
      230 North First Avenue, Ste. 204
19    Phoenix, Arizona 85003-1706
20    Elizabeth.C.Amorosi@usdoj.gov
      Fax No. (602) 514-7270
21
22   /s/ Scott W. Hyder
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